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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                         BIG STONE GAP DIVISION

 DANNY L. CARTER,                                )
                                                 )
               Plaintiff,                        )   Case No. 2:19CV00032
                                                 )
 v.                                              )           ORDER
                                                 )
 ANDREW SAUL,                                    )   By: James P. Jones
 COMMISSIONER OF                                 )   United States District Judge
 SOCIAL SECURITY,                                )
                                                 )
               Defendant.                        )



       It appearing that no objections have been timely filed to the Report filed

 October 8, 2020, setting forth the findings and recommendations of the magistrate

 judge, it is ADJUDGED AND ORDERED as follows:

       1.      The Report and its findings and recommendations are wholly

 ACCEPTED and APPROVED;

       2.      The motions for summary judgment by the parties are DENIED;

       3.      The final decision of the Commissioner of Social Security is

 VACATED and this action is REMANDED to the Commissioner pursuant to the

 fourth sentence of 42 U.S.C. § 405(g) for further consideration in accord with the

 Report; and

       4.      The clerk will close this case.
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                                           ENTER: November 5, 2020

                                           /s/ JAMES P. JONES
                                           United States District Judge




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